
The Court
was of opinion, that the defendant ought to be ruled into a trial at this term. It is not necessary for this Court to decide the question, whether the Legislature of Virginia could legislate for the District of Columbia, after the first Monday of December, 1800. Because it is the opinion of the Court that the Act of Congress of 27th of February, 1801, [2 Stat. at Large, 103,] adopted and thereby reenacted all the laws of Virginia, then in force in Virginia, so far as they were applicable to the circumstances, and to the inhabitants of this district.
There is nothing in that act which forbids such a construction. The act of 21st of January, 1801, if sufficiently authenticated, must be admitted to have been a law of Virginia, in force on the 27th of February, 1801, and therefore within the letter of the act of Congress passed on that day; and inasmuch as it is a law applicable to the circumstances of this district, it is certainly within the spirit of that act. If the Act of Virginia, of January' 21st, 1801, be one of the laws of Virginia, adopted by the Act of Congress of 27th of February, 1801, it is the opinion of the Court that it needs no other authentication than the other laws of Virginia adopted by the same act of Congress, which in effect has reenacted it as if in toiidem verbis ; and being thus reenacted by a public act, it becomes itself a public act.
